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                    CONTINUATION OF CRIMINAL COMPLAINT

I, Benjamin Glynn, being duly sworn, depose and state as follows:

                                      Introduction

      1.     During the past year, I have participated in a multi-agency investigation

into the use, possession, and transfer of firearm “switches” in West Michigan. Switches

go by several names, including “auto sears,” “Glock auto sears,” and “Glock switches.”

However referenced, their design and function is to transform semi-automatic firearms

into machineguns.

      2.     Through the investigation, police and federal agents discovered evidence

of a number of firearms and drug crimes involving people in Benton Harbor and Grand

Rapids, Michigan. This continuation describes certain fruits of that investigation.

      3.     This continuation is provided in order to obtain arrest warrants for the

following individuals (collectively, the “Target Subjects”) and offenses:


       Target Subject                    Offense                       Statute

                               Distribution of
                                                             21 U.S.C. § 841(a)(1)
                               Methamphetamine
 EVORION ANDERSON
                               Conspiracy to Distribute
                                                             21 U.S.C. §§ 846, 841(a)(1)
                               Methamphetamine
                               Possession or Transfer of a
                                                             18 U.S.C. § 922(o)
                               Machinegun
                               Felon in Possession of a
 JAYVON ANTHONY                                              18 U.S.C. § 922(g)(1)
                               Firearm
                               Conspiracy to Possess or
                                                             18 U.S.C. §§ 371, 922(o)
                               Transfer a Machinegun
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       Target Subject                    Offense                        Statute

                               Distribution of
                                                             21 U.S.C. § 841(a)(1)
                               Methamphetamine
                               Conspiracy to Distribute
                                                             21 U.S.C. §§ 846, 841(a)(1)
                               Methamphetamine
 EARL AUSTIN IV
                               Possession or Transfer of a
                                                             18 U.S.C. § 922(o)
                               Machinegun
                               Felon in Possession of a
                                                             18 U.S.C. § 922(g)(1)
                               Firearm
                               Conspiracy to Possess or
 QUINCY BOWMAN                                               18 U.S.C. §§ 371, 922(o)
                               Transfer a Machinegun
                               Felon in Possession of a
 OMARION BRANCH                                              18 U.S.C. § 922(g)(1)
                               Firearm
                               Conspiracy to Possess or
 TOREZ BURNETT                                               18 U.S.C. §§ 371, 922(o)
                               Transfer a Machinegun
                               Felon in Possession of a
 NICHOLAS HALLO                                              18 U.S.C. § 922(g)(1)
                               Firearm
                               Possession or Transfer of a
                                                             18 U.S.C. § 922(o)
                               Machinegun
 DEMETRIUS SEUELL
                               Conspiracy to Possess or
                                                             18 U.S.C. §§ 371, 922(o)
                               Transfer a Machinegun
                               Felon in Possession of a
 TIM THOMAS                                                  18 U.S.C. § 922(g)(1)
                               Firearm and Ammunition
 ARMANDO                       Conspiracy to Possess or
                                                             18 U.S.C. §§ 371, 922(o)
 VILLANUEVA                    Transfer a Machinegun
                               Conspiracy to Possess or
 ERIC WILLIAMS                                               18 U.S.C. §§ 371, 922(o)
                               Transfer a Machinegun



       4.     This continuation is also submitted in support of applications for warrants

to search the following premises (collectively, the “Subject Premises”) for evidence of the

offenses indicated below:




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   Subject Premises             Target Offenses                    Statute

                        Possession and Transfer of a
                                                           18 U.S.C. § 922(o)
                        Machinegun
COLUMBUS PREMISES
                        Conspiracy to Possess and
                                                           18 U.S.C. §§ 371, 922(o)
1089 Columbus Avenue    Transfer a Machinegun
Benton Harbor, MI
                        Sale or Disposition of a Firearm
                                                           18 U.S.C. § 922(d)
                        to a Prohibited Person

                        Possession with Intent to
CONCORD PREMISES        Distribute Controlled              21 U.S.C. § 841(a)
                        Substances
150 Concord Avenue
Benton Harbor, MI       Conspiracy to Distribute
                                                           21 U.S.C. §§ 841(a), 846
                        Controlled Substances

                        Possession with Intent to
                        Distribute Controlled              21 U.S.C. § 841(a)
                        Substances

                        Conspiracy to Distribute
                                                           21 U.S.C. §§ 841(a), 846
                        Controlled Substances
HIGHLAND PREMISES
                        Possession and Transfer of a
                                                           18 U.S.C. § 922(o)
1082 Highland Avenue,   Machinegun
Benton Harbor, MI
                        Conspiracy to Possess and
                                                           18 U.S.C. §§ 371, 922(o)
                        Transfer a Machinegun


                        Felon in Possession of a Firearm   18 U.S.C. § 922(g)(1)




                                       3
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     Subject Premises                 Target Offenses                     Statute

                             Possession with Intent to
 TAYLOR PREMISES             Distribute Controlled               21 U.S.C. § 841(a)
                             Substances
 2000 Taylor Street
 Benton Harbor, MI           Conspiracy to Distribute
                                                                 21 U.S.C. §§ 841(a), 846
                             Controlled Substances



       5.     This continuation contains only a summary of relevant facts. I have not

included each and every fact known to me concerning the entities, individuals, and

events described in this continuation.

                                   Agent Background

       6.     I am an agent with the Federal Bureau of Investigation and have been so

employed since January 2017. I am currently assigned to the FBI Detroit Field Office, St

Joseph Resident Agency. Prior to becoming an agent, I was a police officer and detective

with the Rock Hill (SC) Police Department for six years. I have spent most of my time as

both an agent and detective investigating drug and gun violations, and the criminal

networks responsible for those violations. As a police officer, I was a member of the Street

Crimes Unit for two years, during which time my focus was on interdicting violent actors

in my city responsible a large percentage of the violent shooting incidents and drug

distribution. I also spent two years with the Violent Crime Unit, which conducted long-

term investigations into the national street gangs and neighborhood-based gangs which

were responsible for much of the gun and drug violations. Since becoming a federal

agent, I have been a member of the FBI Benton Harbor Safe Streets Task Force and have




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led that Task Force for the past four years. During that time, I have had a similar focus

on combating the drug-trafficking organizations and violent neighborhood-based gangs

prevalent in the Benton Harbor community.

       7.     I have participated in numerous investigations involving violations of

federal firearms and narcotics laws. Through these investigations, my training and

experience, and conversations with other agents and law enforcement personnel, I have

become familiar with the methods used by traffickers to smuggle and safeguard

narcotics, to distribute narcotics, to possess firearms in furtherance of safeguarding

narcotics, and to collect and launder drug-related proceeds. I have also become familiar

with the methods and communications used by those who illegally possess and traffic

firearms, including switches. These investigations have resulted in the arrest and

conviction of criminal defendants and the seizure of firearms and narcotics. I have

previously been the affiant for many federal search warrants and have assisted other state

and local agencies, as well as Assistant United States Attorneys, in the preparation of

affidavits for search warrants.

       8.     People who distribute controlled substances and firearms often maintain a

supply of controlled substances, firearms, and related items for distribution at a safe

location to which they have access, such as in their residence, in their vehicle, or on their

person.

       9.     Illegal transactions for controlled substances and firearms are typically

conducted in cash, or in exchanges involving electronics or other high-value property. As

a result, people who illegally distribute controlled substances and firearms often possess


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cash and other high-value property related to illegal drug transactions. Furthermore,

people who illegally distribute controlled substances and firearms often store proceeds

and records of their transactions in secure locations within their residences or vehicles for

ready access and to conceal them from law enforcement. Finally, people who illegally

distribute controlled substances and firearms often possess items that may be used to

count and package cash proceeds, including (but not limited to) heat-sealing devices,

plastic packaging, rubber bands, and money-counting devices

       10.    People who distribute controlled substances often possess items that may

be used to package, process, dilute, weigh, and distribute, or otherwise facilitate

transactions involving controlled substances, including (but not limited to) scales,

funnels, sifters, grinders, glass panes and mirrors, razor blades, plastic bags, and heat-

sealing devices.

       11.    People who illegally distribute controlled substances and firearms often

maintain books, records, receipts, notes, ledgers, money orders, and other documentation

relating to the transportation, ordering, sale, and distribution of controlled substances.

Such items are often maintained at a safe location to which the person has access, such as

their residence, their vehicles, on their person, or as electronic files on a cell phone.

       12.    People who illegally distribute controlled substances and firearms often

maintain records reflecting names, nicknames, addresses, telephone numbers, and other

contact or identification information for criminal associates.

       13.    People who distribute controlled substances often keep and use firearms

and related items (such as magazines, holsters, cases, and ammunition) during and in


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furtherance of their drug distribution activities, and specifically to protect their drugs and

proceeds from drug distribution. It is also common for people who sell drugs out of their

homes to maintain firearms there in order to protect themselves, their drugs, and their

proceeds.

       14.    People who illegally distribute controlled substances and firearms often use

secure containers, such as safes or safety deposit boxes, to secure the proceeds of their

criminal transactions.

       15.    People involved in the illegal distribution of controlled substances and

firearms typically use cellular telephones in connection with their distribution activities,

including to plan, execute, and coordinate their purchases and sales. Accordingly,

cellular phones used by people who illegally distribute controlled substances and

firearms frequently contain evidence of their distribution activities. Such evidence may

include communications regarding drug or firearm deals; photographs or videos of

drugs, currency, firearms, or coconspirators; audio or video files reflecting or concerning

drug or firearm transactions; and internet activity regarding drug or firearm transactions.

       16.    Illegal transactions involving controlled substances or firearms are

frequently conducted in cash. For this reason, people involved in the distribution of

controlled substances frequently have significant quantities of cash in their possession.

Such transactions may also be conducted using payment applications that can be accessed

using cellular phones, such as Venmo and PayPal.




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       17.     People involved in the illegal distribution, receipt, or possession of

controlled substances or firearms often maintain and use cellphones to facilitate their

illegal activities.

       18.     Cellular phones may be used to access social media websites such as

Facebook and Instagram, and people involved in the illegal distribution, receipt, or

possession of controlled substances or firearms often use social media to communicate

with suppliers, customers, and peers involved in the same activities.

       19.     People with cellular phones use them to communicate about all manner of

subjects, including their own state of mind and knowledge. People who use cellular

phones often succumb to the illusion that their phone use is private, which encourages

them to make candid communications.

                                        Switches

       20.     Switches can be made of either metal or a polymer commonly used in 3D-

printers. Regardless of its material, a switch typically has three parts, as shown below:




       21.     A switch can be installed with little technical knowledge in approximately

one minute by substituting it for the original slide cover plate, as shown below:



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       22.    When a switch is installed on a pistol and the trigger is pulled, the pistol

will fire until the trigger is released or the magazine is empty. A Glock pistol affixed with

a switch can fire over 1,000 rounds per minute.

       23.    According to 26 U.S.C. § 5845(b), “the term ‘machinegun’ means any

weapon which shoots, is designed to shoot, or can be readily restored to shoot,

automatically more than one shot, without manual reloading, by a single function of the

trigger.” The same provision adds that “machinegun” also means “any part designed and

intended solely and exclusively, or combination of parts designed and intended, for use

in converting a weapon into a machinegun.” Under this definition, a switch itself is a

“machinegun,” even if it is not attached to a firearm. See United States v. Dodson, 519 F.

App’x 344, 347–349 (6th Cir. 2013).

       24.    The Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) is not

aware of any switches having been produced before May 19, 1986. As a result, switches

are governed by the Gun Control Act, 18 U.S.C. § 922(o), which prohibits the transfer or

possession of a machinegun manufactured after May 19, 1986. Such machineguns may

be lawfully possessed only by appropriately licensed people who have paid a required




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Special Occupational Tax and are authorized by the United States or a statutorily

recognized subpart. None of the people named in this continuation are licensees with the

appropriate authorization.


  December 2021: Investigators search TOREZ BURNETT’s house and find switch
                                   parts inside

       25.    On December 22, 2021, police executed a State of Michigan search warrant

at 1089 Columbus Avenue, Benton Harbor, MI (the “COLUMBUS PREMISES”). The

warrant sought evidence that Lyondre Burnett (“LYONDRE”) unlawfully possessed

firearms. LYONDRE is a felon, having been convicted of carrying a concealed weapon in

a State of Michigan court in 2020.

       26.    Inside the COLUMBUS PREMISES, police found Isheria Jackson and Torez

Burnett (“TOREZ”). Police interviewed Jackson and TOREZ, and learned that Jackson is

TOREZ’s and LYONDRE’s mother, and also that Jackson and TOREZ lived at the

COLUMBUS PREMISES.

       27.    TOREZ said LYONDRE had recently moved out of the COLUMBUS

PREMISES, but still spent time there. Jackson said she kicked LYONDRE out of the

COLUMBUS PREMISES because she blamed him for the COLUMBUS PREMISES having

been shot at in the past year.

       28.    During the search of the COLUMBUS PREMISES, investigators found

firearms, firearm parts, and small pieces of metal that investigators later identified as

switch parts, pictured below:




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      29.    In addition to the switch parts, investigators found printed instructions

describing how to affix a switch to a semi-automatic handgun. They also found the

backplate of a Glock handgun and a Glock handgun without a backplate. Based on my

training and experience, I understand that a pistol’s backplate must be removed to equip

the pistol with a switch. Below are images of the backplate, circled in red, and the Glock

handgun without a backplate:




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        30.   Investigators determined that LYONDRE used Facebook to communicate

with others about switches, including with Eric WILLIAMS.1 According to WILLIAMS’s

Facebook account, in December 2021, one week before police searched the COLUMBUS

PREMISES, this conversation occurred:

        WILLIAMS: Bitch you ain’t hit me up bout no glocky.

        LYONDRE (voice message):2 Aye on gang bro, I ain’t, I ain’t gone bap. That’s bro
        shit, that ain’t even my shit. But, I hit you about the AR though. But, you know,
        it’s Killa want that bitch now though, shit. But whichever one of y’all want that
        bitch. But I can get you the, the, the, the G-lock though, it depends on what you
        talking. I could just get you the switch itself for 700.

        31.   Based on my training, experience, and knowledge of the investigation, I

understand from these messages that WILLIAMS complained that LYONDRE did not

offer him a Glock handgun (“Bitch you ain’t hit me up bout no glocky”), and that

LYONDRE replied that the gun belonged to his brother (“that’s bro shit, that ain’t even

my shit”). I understand LYONDRE’s further statements as offering to sell WILLIAMS

either a Glock handgun with an affixed switch (“G-Lock”) or a switch unaffixed to a

handgun (“just get you the switch itself for 700”).



1 Part of this investigation involved obtaining search warrants to seize the content of
various Facebook accounts for review. There is a paragraph near the end of this
continuation that lists Facebook accounts referenced herein that investigators have
identified as belonging to a particular person. It also names each such person and states
the basis for believing the account is theirs, and, where applicable, identifies the search
warrant that authorized the account’s seizure.
2While reviewing LYONDRE’s publicly accessible Facebook account, I watched videos
of him speaking and became familiar with the sound of his voice. Based on this and other
evidence that this Facebook account belongs to LYONDRE, I determined that LYONDRE
was the person speaking in this voice message.



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       32.    In the same exchange, in response to LYONDRE, WILLIAMS wrote:

       Shit I’ll buy the whole glock
       Or I can buy the switch separate it don’t matter to me fr

       33.    Police also obtained and reviewed content from the Facebook account

“MoneyAffiliated KingGhost.” The account shows that, on the same day LYONDRE

discussed switches with WILLIAMS, he exchanged the following messages with

“MoneyAffiliated KingGhost,” referred to below as “KingGhost”:

       LYONDRE: I can get you a switch for 600

       KingGhost (voice message): I want the whole thing like it is, fuck all that
                         switch shit. I need the whole thing, like it is nigga.

       34.    The Facebook conversation continued for weeks, leading to this exchange:

       KingGhost (voice message): Cuz, I need a hundred round drum for that AR, man.
                         That bitch like asap.

       LYONDRE: Finna see if lil bro can get one and how much it will be

       35.    Based on my training, experience, and knowledge of the investigation, I

understand from these messages that LYONDRE offered KingGhost a switch for $600 (“I

can get you a switch for 600”), and that KingGhost declined (“fuck all that switch shit”)

and requested a firearm with a switch already affixed (“I need the whole thing, like it

is”). I further understand that, in the latter part of the conversation, KingGhost requested

an assault rifle magazine capable of holding 100 rounds of ammunition (“I need a

hundred round drum for that AR”), in response to which LYONDRE agreed to ask his

brother to obtain one (“Finna see if lil bro can get one”).

              March 2022: Investigators seize parcels filled with switches



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       36.    On March 7, 2022, federal agents seized and opened two parcels that were

sent from China to a residence in Benton Harbor (the “Seized Parcels”). A phone number

on the shipping label was (269) 908-5538 (“5538”). The Seized Parcels contained 10

switches total, and were addressed to “Brayden Bowman” at 1020 Ogden Avenue.

Investigators were unable to identify anyone named “Brayden” associated with the

address. But through research into Michigan Secretary of State records, investigators

found that members of the Bowman family, including Quincy BOWMAN, previously

reported living at 1020 Ogden Avenue when applying for a State of Michigan

identification card or driver’s license.

       37.    Investigators removed the switches from the Seized Parcels and replaced

them with harmless objects that resembled switch parts. Investigators then applied for a

warrant to search 1020 Ogden Avenue, which was issued by U.S. Magistrate Judge Ray

Kent (1:22-mj-128).

       38.    Investigators delivered the Seized Parcels to 1020 Ogden Avenue, and then

executed the search warrant. While the search was ongoing, BOWMAN approached the

address. At the time, BOWMAN was on felony probation through the State of Michigan,

and part of his probation order required him to “submit to a search of [his] person or

property” based on reasonable cause to believe he had “items which violate the

conditions of [his] probation.”

       39.    Police detained BOWMAN, seized his phone, and reviewed its contents.

Police found messages between BOWMAN and phone number (269) 759-9950 (“9950”),

which was stored in the phone as “Kabbo,” in which the two discussed a parcel that was


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delivered to 1020 Ogden Avenue weeks earlier, on February 14, 2022. A subpoena was

issued to T-Mobile seeking subscriber information for 9950, and the response indicated

the subscriber was TOREZ. Local investigators were familiar with TOREZ from previous

investigations and knew him to use the nicknames “Kabbo” and “Kabbage.”

        40.   Investigators researched the February 14 parcel described in BOWMAN’s

text messages. According to records provided by FedEx, a parcel was delivered to 1020

Ogden Avenue on February 14, 2022, with an identified recipient of “John Bowman.”

FedEx’s records indicated that the earlier parcel had a similar weight and description to

each of the Seized Parcels and originated from the same province in China.

        41.   The listed phone number for the February 14 parcel was also the same as

the number provided for the Seized Parcels: 5538. Investigators queried the Michigan

Department of Corrections (“MDOC”) Offender Management Network Information

system, which showed that 5538 was associated with an account registered to TOREZ.3

        42.   MDOC records also show that 5538 was used to place recorded calls to

inmates. On March 7, 2022, the day before the federal search warrant described above

was executed, TOREZ used 5538 to call and speak with MDOC inmate Stevie Brooks.




3 When a person wants to make phone calls to MDOC inmates, they must create an
account that contains their name, phone number, and other personal information.



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During the call, TOREZ said his “real number” is 9950—the same phone number stored

in Bowman’s phone as “Kabbo,” as described above.4

        43.   FedEx records also indicate that on February 21, 2022, another parcel was

delivered to 1020 Ogden Avenue from the same province in China as the February 14

parcel and the Seized Parcels. It had a similar weight and description as the Seized Parcels

and February 14 parcel. The listed recipient was “Brayden Bowman,” and the listed

phone number was 5538, associated with TOREZ as explained above.

        44.   Investigators issued a summons to find internet protocol (“IP”) addresses

that were used to track the February 14 parcel. The results showed that the parcel was

tracked on multiple occasions from an IP address assigned to Isheria Jackson, who

received service at the COLUMBUS PREMISES.

        45.   Based on my training, experience, and knowledge of the investigation, I

believe the parcels delivered to 1020 Ogden Avenue on February 14 and 21, described

above, contained switches, just like the Seized Parcels. I further believe, based on the facts

described above and elsewhere in this affidavit, that TOREZ and BOWMAN worked

together to have the switches delivered.


        TOREZ communicates about the Seized Parcels with Demetrius SEUELL




4 I compared voice messages sent by TOREZ via his Facebook account to the voice
samples from the recorded jail call and confirmed TOREZ was the person speaking with
inmate BROOKS.



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        46.   Before and after the parcels described above were delivered, TOREZ and

others discussed them on Facebook. According to TOREZ’s Facebook account, on

February 16, 2022, he and Demitrius SEUELL had the following exchange:

                    TOREZ: I got u a button for 400 rn

                    SEUELL: I’m tryna order 2 of them $140 joints or atleast 1 & sell it,
                               yk I’m fucked up💯💯

                    TOREZ: Bet Lmk

                    SEUELL: Bet

        47.   Based on my training, experience, and knowledge of the investigation, I

understand from these messages that TOREZ offered SEUELL a switch (“button”) for

$400 (“400”).5 SEUELL responded that he would rather pay $140 for two cheaper, lower-

quality switches (“joints”) because he was low on funds (“I’m fucked up”).

        48.   Also according to TOREZ’s Facebook, on February 19, 2022, TOREZ and

SEUELL had this exchange:

        TOREZ:      Send Me $150 on dis order

        TOREZ:      It’s time

        SEUELL:     Waiting on a mfka to send me my cheese back now, I got yo cheese
                    rn tho

        TOREZ:      Lmk when u get it on there I’m tryna do dis atleast by Toma

        SEUELL:     Bet, I most definitely need one to put up for when I get another one
                    Ian putting on that other whenever I get it back

5Based on my training, experience, and knowledge of the investigation, I understand that
a “button” is another term for a switch. For context, most switches have a button that
must be pressed to shift between semi-automatic and fully-automatic fire.



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      49.    Based on my training, experience, and knowledge of the investigation, I

understand from these messages that TOREZ’s phrase “dis order” referred to an order

for switches that TOREZ intended to place the next day (“I’m tryna do dis atleast by

Toma”). TOREZ offered SEUELL an opportunity to buy a switch from that order for $150

(“Send Me $150”). SEUELL confirmed he had the money (“I got yo cheese”) and indicated

he was going to save the switch for a firearm he intended to purchase later (“need one to

put up for when I get another one”).

      50.    TOREZ’s Facebook contains additional conversations with SEUELL:

             a.     On Saturday, March 5, 2022, SEUELL wrote: “When that package

      coming?” TOREZ replied: “Tuesday.” The next Tuesday was March 8, 2022, which

      is the same day the Seized Parcels were scheduled to be delivered and the

      replacement parcels were in fact delivered by law enforcement. Based on my

      training, experience, and knowledge of the investigation, I understand from these

      messages that SEUELL checked on the delivery date for the Seized Parcels, which

      contained a switch he thought he would receive as he had previously discussed

      with TOREZ. In reply, TOREZ told SEUELL that the switches were scheduled to

      be delivered on Tuesday, March 8.

             b.     On March 9, 2022, the day after the search warrant was executed at

      1020 Ogden Avenue, TOREZ wrote to SEUELL: “Cashapp my 750 hoe.” SEUELL

      replied: “$650 bitch you tryna bus my head, you already owe me $100 plus the

      $150 from ts y’all claim just happened wth nigga.” Based on my training,



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      experience, and knowledge of the investigation, I understand from these messages

      that they were discussing how much money SEUELL owed. TOREZ believed

      SEUELL owed $750, while SEUELL believed he owed $650. Part of SEUELL’s

      reasoning stemmed from his belief that TOREZ owed him $150 (“you already owe

      me . . . $150”) that SEUELL had paid for a switch that TOREZ was no longer going

      to deliver because, according to TOREZ, it had been seized by police in connection

      with the search warrant executed the day before (“ts [the shit] y’all claim just

      happened”).


       TOREZ communicates about the Seized Parcels with Eric WILLIAMS

      51.   TOREZ’s Facebook account reveals that he also communicated about

switches and parcels with WILLIAMS on February 5, 2022:

      WILLIAMS: Aye fool let get that 29 for 16

      WILLIAMS: N I wanna buy that one n put it on my .45

      TOREZ:        I’ll do 18 I got taxed on dis Bih I gave up my gen 5 23 nd sum cheese

      WILLIAMS: Man fool I feel it I slight ain’t trynna pay that much cheese tho no
                cap especially since I’m really just trynna get the switchy frfr

      WILLIAMS: That’s why I said I’ll grab that ho for 16

      TOREZ:        Igh man 17 😂 yo Ass stay willing and dealing it work everytime 🤣

      WILLIAMS: Man bitch you can do 16

      WILLIAMS: I’m finna hit the road ina sec

      TOREZ:        So 23 In All

      WILLIAMS: Bet



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      TOREZ:        Bet Only Cause It’s U Hoe I Gotchu Nd It’s Only Gone Take Me 30
                    Seconds to make da Glizzy do jumping jacks

      52.    Based on my training, experience, and knowledge of the investigation, I

understand from these messages that WILLIAMS and TOREZ negotiated the sale of a

firearm equipped with a switch. WILLIAMS offered to buy a Glock Model 29 fitted with

a switch (“29”) for $1,600 (“16”). I infer that the Glock Model 29 had a switch because,

based on my training and experience, $1,600 is the approximate street price for a pistol

affixed with a switch, and would be overpayment for a pistol without one. WILLIAMS

also asked to buy a separate switch (“N I wanna buy that one”) to affix to a .45 caliber

pistol (“n put it on my .45”). They settled on a total price of $2,300 (“23”). TOREZ ended

the conversation by letting WILLIAMS know it would take him only 30 Seconds (“It’s

Only Gone Take Me 30 Seconds”) to take WILLIAMS’ .45 caliber Glock pistol (“Glizzy”)

and affix the standalone switch to it (“make da Glizzy do jumping jacks”).

      53.    According to TOREZ’s Facebook, WILLIAMS and TOREZ continued to

communicate using Facebook on February 16, 2022:

      WILLIAMS: Yooo

      TOREZ:        Yo

      WILLIAMS: You got any buttons in?

      TOREZ:        I got one u can test nd make sure it’s right

      TOREZ:        Pack Touch Down Monday

      WILLIAMS: Bet

      TOREZ:        5K For 9


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      TOREZ:        It’s Dem Good Good Ones

      WILLIAMS: They all the good ones all 9?

      TOREZ:        Yup like the last ones u got from me

      TOREZ:        Ima have red ones too

      WILLIAMS: The first ones I got from you or the last ones?

      TOREZ:        Last ones

      54.    Based on my training, experience, and knowledge of the investigation, I

understand that WILLIAMS initially inquired if TOREZ had switches available (“You got

any buttons in?”). TOREZ told WILLIAMS he had a package of switches scheduled to

arrive on Monday, February 21 (“Pack Touch Down Monday”). TOREZ said the price

was $5,000 for nine switches (“5K For 9”) and that they were high quality (“Dem Good

Good Ones”), like prior switches TOREZ had provided WILLIAMS (“like the last ones u

got from me”). WILLIAMS’s question revealed he had received at least two prior

deliveries of switches from TOREZ: “the first ones I got from you or the last ones?”

      55.    Investigators obtained WILLIAMS’s Facebook account, which contained

pictures of WILLIAMS holding a handgun with an affixed switch, as well as a video of

WILLIAMS shooting a handgun with an affixed switch, shown below.




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    WILLIAMS’s driver’s                                          Still image from video of
                               Photograph of WILLIAMS
   license photo obtained                                           WILLIAMS firing a
                               holding a handgun affixed
      from the Michigan                                                 handgun fully
                               with a switch (see red circle).
       Secretary of State.                                              automatically



          TOREZ conducts firearm and switch transactions with “Cee Peelback”

         56.   Around the same time TOREZ communicated with WILLIAMS, he also

communicated with Facebook username “Cee Peelback” regarding firearm and switch

transactions, some of which occurred at COLUMBUS PREMISES. According to TOREZ’s

Facebook, during the evening of February 10, 2022, Peelback sent TOREZ the following

image:




         57.   Shortly after sending this image, Peelback and TOREZ had a short video

call, followed by this exchange:


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      Peelback:     Killa said wait till toma and bro ina joe w it rn but ima ima call u
                    ina am to get this bih Ian gone sell it to nb

      Peelback:     Oms

      TOREZ:        Bet

      Peelback:     Bet

      58.    Based on my training, experience, and knowledge of the investigation, I

understand that Peelback and TOREZ were coordinating a firearm transaction. In the

initial photograph, Peelback advertised to TOREZ what firearms he had for sale and the

cost of each. Peelback then told TOREZ that another person (“Killa”) said to wait until

the following day (“wait till toma”) to complete the transaction because another person

(“bro”) had the firearm in Saint Joseph, MI, which directly borders Benton Harbor (“bro

ina joe w it rn”). Peelback also said he would call TOREZ in the morning to sell him the

firearm (“call u ina am to get this bih”) and would not sell it to anyone else (“Ian gone

sell it to nb”). TOREZ affirmed his understanding and agreement (“Bet”).

      59.    According to TOREZ’s Facebook, the next morning, February 11, TOREZ

and Peelback had this exchange:

      Peelback:            You still want that

      TOREZ:               Yea

      Peelback (voice message): On my way to pick it up right now, I’ma call
                         you soon as I get to the hood

      TOREZ:               Bet

      Peelback:            Way

      TOREZ:               Crib


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       Peelback:               Was the street again

       TOREZ:                  1089 Coo

       TOREZ:                  Columbus

       60.    Approximately 24 minutes later, Peelback messaged, “I’m at the door.”

       61.    Based on my training, experience, and knowledge of the investigation, I

understand the above conversation to be the consummation of the firearm transaction

discussed the evening prior. TOREZ confirmed he still wanted the firearm (“still want

that”), and then identified the COLUMBUS PREMISES address as his “crib.” Shortly

afterwards, Peelback said he was “at the door,” meaning he was at COLUMBUS

PREMISES prepared to conduct the transaction they had arranged.

       62.    According to TOREZ’s Facebook, three days later, on February 14, 2022,

Peelback and TOREZ continued their conversation, this time regarding a switch. Below

is part of the conversation:

       Peelback:               Hm u want for them pieces

       TOREZ:                  He might as well just keep that one I can’t replace the pieces

       TOREZ:                  Nd tell him 6 just shipped out the black ones I gave E

       Peelback:               We already got Ah switch we jus need that piece

       TOREZ:                  Bih if I sell da piece Ian gone have one it’s gone be useless

       Peelback:               Hm u want for the piece

       TOREZ:                  500 You Gotta Get The Whole Thang

       63.    Based on my training, experience, and knowledge of the investigation, I

understand that Peelback asked TOREZ how much he would charge (“Hm”) to replace


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pieces of a switch (“u want for them pieces”). TOREZ replied that he would not sell

switch pieces (“I can’t replace the pieces”), but that he expected to receive a shipment of

six switches that are similar to a black switch he provided to a person called “E.” TOREZ

insisted that he wanted only a piece (“We already got Ah switch we jus need that piece”).

TOREZ again refused and explained that if he sold a switch piece (“if I sell da piece”) he

would then be missing that piece (“Ian gone have one”), which would leave him with a

useless partial switch (“it’s gone be useless”). Peelback then asked for the price of an

entire switch (“Hm u want for the piece”), to which TOREZ replied $500 (“500 You Gotta

Get The Whole Thang”).

       64.    The conversation continued:

       Peelback:            You got that back piece

       Peelback:            Need it

       TOREZ:               Yup

       Peelback:            Igh she finna come get ts

       TOREZ:               Lmk when u os

       Peelback:            Pullin up

       Peelback:            Os

       TOREZ:               Bet

       65.    Based on my training, experience, and knowledge of the investigation, I

understand Peelback decided he would purchase the switch for $500 (“You got that back

piece,” “Need it”). TOREZ affirmed he had it (“Yup”) and Peelback said he would send

a female (“she”) to pick it up (“she finna come get”). TOREZ wanted Peelback to inform


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him when she or he was outside (“Lmk when u os”). I believe this to mean outside

COLUMBUS PREMISES in particular because this discussion occurred only a few days

after their previous gun deal at COLUMBUS PREMISES, and TOREZ’s Facebook does

not reveal that he provided a different meeting location. I infer that, from their

immediately prior deal, Peelback knew to go to TOREZ’s residence, and did (“Pulling

up,” “Os”).

        December 2022: TOREZ’s recent dealings at the COLUMBUS PREMISES

        66.    Recent investigative material confirms TOREZ still resides at COLUMBUS

PREMISES and deals with switches.

        67.    Since August 2018, investigators have been monitoring video surveillance

of the exterior of COLUMBUS PREMISES. Within the past month, investigators have seen

TOREZ coming and going from COLUMBUS PREMISES daily.

        68.    In addition, on December 12, 2022, TOREZ posted a video to his Instagram

account, username “__rp10kabbo,” depicting himself with a Glock handgun fitted with a

switch.6 Here is a screen capture of the video, which displays the Glock with switch

(circled in red):




6 The account was identified as TOREZ’s based on photographs, videos, and username
and display name. The overwhelming majority of photographs and videos posted to the
account are of TOREZ. The username, “__rp10kabbo,” and display name, “GramSlam
Kabbo,” both incorporate TOREZ’s nickname, “Kabbo.” Additionally, the display name
is identical to TOREZ’s Facebook username.


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      69.    Based on TOREZ’s prior messages arranging to sell guns at COLUMBUS

PREMISES, his recent social media post of a switch, and the fact that he still lives at

COLUMBUS PREMISES, I believe that TOREZ is engaged in a long-term conspiracy to

deal switches and that his established location for doing so is COLUMBUS PREMISES.

 April 2022: Investigators learn about two men straw purchasing firearms in Grand
      Rapids, which leads to further evidence of switches from Benton Harbor

      70.    Investigators in Grand Rapids developed evidence that, in April 2022,

Armando     VILLANUEVA       and   Nicholas    HALLO     obtained   firearms   through

VILLANUEVA’s girlfriend, HG. VILLANUEVA was a felon at the time, having been

convicted in 2019 in a State of Michigan court for possessing ammunition as a convicted


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felon. HALLO was a felon as well, having sustained a State of Michigan conviction in

2013 for home invasion.

        71.   On April 5, 2022, VILLANUEVA, HALLO, and HG went to the Silver Bullet

FFL in Wyoming, MI. VILLANUEVA and HALLO entered the store without HG and

spent time around the handgun case. They both then left the store and returned to the car

where HG was waiting. Approximately five minutes later, HG exited the car, entered the

store, and bought a Glock model 33 handgun (bearing serial #BVYA810) and a Glock

model 30 handgun (bearing serial #BVVR067).7 Below is a screen capture of surveillance

video from the Silver Bullet FFL showing HALLO (left) and VILLANUEVA (right) at the

handgun case:8




7I am informed that these Glock pistols were manufactured outside the State of Michigan
and, therefore, traveled through interstate commerce before HG purchased them.
8 I recognize VILLANUEVA and HALLO based on having reviewed multiple
photographs of each, including State of Michigan identification photographs.



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        72.    On July 14, 2022, VILLANUEVA was arrested for his alleged involvement

in a shooting the prior week. Investigators obtained a federal search warrant (1:22-mj-

409) to review VILLANUEVA’s cellphone.

        73.    In reviewing VILLANUEVA’s phone, investigators discovered a video that

was saved to the phone on February 24, 2022. The video shows VILLANUEVA holding

a Glock handgun with an affixed switch.9 Investigators also found another video saved

to the phone on that date, which showed VILLANUEVA shooting a Glock handgun with

an affixed switch from a moving vehicle, in what appeared to be a residential area. In

each case, investigators identified VILLANUEVA as the shooter based on his hand tattoo,

as shown in the images below.




9   Dates related to VILLANUEVA’s phone are based on metadata.



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   Still frame of video of       Still frame of video of
 VILLANUEVA holding a          VILLANUEVA holding a         Photograph that MDOC
   Glock with an affixed         Glock with an affixed      took of VILLANUEVA’s
    switch, uploaded to           switch, uploaded to      hand in connection with a
 VILLANUEVA’s phone on         VILLANUEVA’s phone on       prior term of incarceration
          2/24/2022                     2/24/2022



               BOWMAN communicates with VILLANUEVA about switches

         74.    While reviewing the contents of the phone seized from BOWMAN on

March 8, 2022, in connection with the operation described above concerning the Seized

Parcels, investigators found messages between BOWMAN and phone number (616) 706-

7246 (“7246”), which was stored in BOWMAN’s phone as “Mondo,” in which the two

appeared to discuss a transaction.10




10Investigators determined that 7246 was VILLANUEVA’s phone because it was the
number assigned to the phone that was seized from VILLANUEVA when he was arrested
on July 14, 2022, as described above.


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         75.   According to BOWMAN’s phone, the following text exchange took place

on February 26, 2022:

         VILLANUEVA:        Yea gang ima need a couple more set sum up for aye Nigga

         BOWMAN:            Bet

         76.   Based on my training, experience, and knowledge of the investigation, I

understand this exchange to be about switches. This exchange occurred two days after

videos of VILLANUEVA using a switch were added to his phone. In addition, as noted

above in the description of TOREZ, BOWMAN, and the Seized Parcels, BOWMAN was

receiving parcels of switches in Benton Harbor from China on TOREZ’s behalf, and

appears to have received such a parcel on February 24, 2022. VILLANUEVA took two

videos of himself firing a Glock pistol with an affixed switch on the same day (February

24, 2022, discussed above).       Based on the timing and text messages, I infer that

VILLANUEVA approved of those switches and informed BOWMAN he would like more

(“ima need a couple more”), in response to which BOWMAN agreed (“Bet”).

                     HALLO attempts to distribute firearm switches

         77.   In February 2022, a confidential informant (“CI-1”) told investigators that

HALLO had invited CI-1 to buy switches that HALLO claimed were from Benton

Harbor.11 In late February 2022, HALLO sent a video via Snapchat to CI-1 depicting a




11I have not worked directly with CI-1, but I conferred with investigators who have. I
learned that CI-1 has been working with law enforcement for approximately three years,
during which time CI-1’s information has been corroborated in significant respects in
connection with multiple investigations. Since CI-1 has been working as an informant,



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Glock pistol with an affixed switch. Below is a screen capture of that video, which CI-1

shared with law enforcement:




       78.    Around that same time, HALLO sent two voice messages to CI-1 through

Snapchat, in which HALLO provided further information about the switches he was

offering to sell CI-1. Below is a transcription of a portion of the first voice message from

February 28, 2022, which CI-1 shared with law enforcement:



CI-1 has never been discovered to have lied to law enforcement, or provided information
that was later discredited. The information that CI-1 has provided in prior cases has led
to numerous successful search warrant executions involving the seizure of drugs,
weapons, and other illegal items. CI-1 has worked for financial compensation, and has
prior convictions for possession of marijuana (2017), reckless use of a firearm (2018),
possession of a controlled substance (2019), and possession of a firearm in a vehicle
(2022). CI-1 was also paid for the information and the operational activity related to
HALLO. CI-1 has since been arrested for an unrelated domestic violence incident and has
been deactivated. CI-1 was on State of Michigan probation at the time of the domestic
violence incident. Other than violating the terms of the probation agreement by getting
arrested, and according to the information available to me, CI-1 never otherwise violated
an agreement with law enforcement.



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      HALLO:        My mans calling him right now. Shit, to see how many he got. They
                    come from, um, Benton Harbor. They, they drove out here from
                    Benton Harbor. I met them the other day soon as they brought my
                    mans his first couple ones.

      79.    Below is a transcription of a portion of a voice message that HALLO sent

CI-1 on March 1, 2022:

      HALLO:        They come from Benton Harbor, though, so it’s a drive for them, so,
                    like, basically when the package get in, they going to call my boy,
                    my boy gone call me, and then we gone go from there.

      80.    While reviewing BOWMAN’s seized phone, investigators identified the

following exchange on February 11, 2022, between BOWMAN and TOREZ:

      BOWMAN: Aye Mexico said he need a pic or some of them mfs

      TOREZ:        Bet

      BOWMAN: He said his man said if he know they legit he can get a couple of them
              gone

      81.    Based on my training, experience, knowledge of the investigation, and

contacts found on BOMWAN’s phone around this date between BOWMAN, TOREZ, and

VILLANUEVA, I understand that BOWMAN was referring to VILLANUEVA as

“Mexico.” I further understand that VILLANUEVA had asked BOWMAN to provide a

picture of the switches (“Mexico said he need a pic or some of them mfs”) because, if the

switches were “legit,” then VILLANUEVA and “his man” could help distribute them

(“get a couple of them gone”). Based on VILLANUEVA’s relationship with HALLO and

HALLO’s messages around the same time, I believe “his man” was HALLO. I further

believe that when HALLO said “they drove out here from Benton Harbor” in his




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February 28 voice message, he was referring to BOWMAN and TOREZ, and that when

HALLO referred to his “mans” and his “boy,” he meant VILLANUEVA.

         82.    HALLO never acquired the switches he was expecting to receive from

BOWMAN and TOREZ because they were in the Seized Parcels. However, HALLO did

conduct two separate illegal sales of firearms to CI-1:12

                a.     On March 29, 2022, HALLO met with CI-1 and an undercover officer

         (“UC”) at the Butterworth Party Store located at 944 Butterworth Street SW in

         Grand Rapids, MI. HALLO sold an Anderson Manufacturing, model AM-15,

         multi-caliber rifle bearing serial #16419385, in exchange for $1,200.

                b.     On May 9, 2022, HALLO met with CI-1, who was under surveillance

         by federal agents, at the Family Dollar located at 2114 Division Ave S. in Grand

         Rapids, MI. HALLO sold a Glock, model 30, .45 caliber pistol bearing serial

         #BVVR067, in exchange for $850. According to records at Silver Bullet FFL, this

         was one of the firearms that HG straw-purchased on April 5, 2022, after HALLO

         and VILLANUEVA were captured on surveillance footage.


February 2022 – September 2022: Omarion BRANCH communicates with TOREZ via
               Facebook, and later drops a firearm during a shooting

         83.    While reviewing TOREZ’s Facebook account, investigators identified a

conversation between TOREZ and Omarion BRANCH. The following is a portion of their

conversation that occurred on February 20, 2022:



12I am informed that these firearms were manufactured outside the State of Michigan
and, therefore, traveled through interstate commerce before HALLO possessed them.


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      BRANCH:       Yoo

      TOREZ:        Yo

      BRANCH:       Wtw pat told me you had the skorpian

      TOREZ:        [sent a voice message that Facebook did not provide]

      BRANCH:       Who finna trade a pipe not knowing if errything right with it 😂
                    ♂mf will replace the rounds it’s the principle of knowing errything
                    work properly

      BRANCH:       But shi fasho keep ts

      TOREZ:        Dat Mf Blow Pat Kno I Wouldn’t Try To Give Em No Bs

      TOREZ:        Dat Mf Still Brand New Flawless Not A Scratch On it

      BRANCH:       Ight

                                            ***

      TOREZ:        I’ll give you a button for it

      BRANCH:       Idk wtf tha is 😂

      84.    Based on my training, experience, and knowledge of the investigation, I

understand the conversation was about a Scorpion model firearm, manufactured by CZ

(“you had the skorpian”). BRANCH wanted to know if the firearm (“pipe”) was

functional and reliable (“Who finna trade a pipe not knowing if errything right with it”).

TOREZ confirmed it was functional (“Dat Mf Blow”) and that he would never trade a

broken firearm (“I Wouldn’t Try To Give Em No Bs”). At the end of the conversation,

TOREZ offered to trade BRANCH a switch (“I’ll give you a button”), and BRANCH

replied that he did not know what (“wtf”) a “button” is.




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         85.   On February 28, 2022, BRANCH was convicted in a State of Michigan court

with the crimes of assault with a dangerous weapon and carrying a concealed weapon,

both of which are felony offenses.

         86.   Around the same time as his conversation with TOREZ and convictions,

BRANCH became involved in a shooting feud. In a subsequent interview with police at

the Berrien County jail (described below), BRANCH said his mother’s house was shot at

least twice around this time.

         87.   On March 13, 2022, BRANCH removed an electronic ankle monitor he was

wearing as a term of probation from his February 2022 convictions and absconded. A

State of Michigan arrest warrant was issued for BRANCH for violating his probation.

         88.   On May 22, 2022, BRANCH was shot near 115 Oden Street in Benton

Harbor, after which his uncle drove him to the hospital. At the scene of the shooting,

police found a Ruger, model P95, 9-millimeter pistol with an obliterated serial number.

BRANCH left the hospital before he could be arrested on his open warrant.13

         89.   On September 23, 2022, BRANCH was found and arrested in Indianapolis,

IN, and extradited to Michigan, where he was interviewed at the Berrien County jail.

BRANCH waived his Miranda rights, and acknowledged that he had dropped the Ruger

P95 pistol found at the scene of his shooting in May 2022. BRANCH said the pistol was

originally purchased by his mother, after which, because BRANCH was charged with




13I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before it was found in Benton Harbor in
May 2022.


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multiple felonies, he sold the firearm on the street. BRANCH said he reacquired the

firearm to protect himself when he became the target of multiple shootings.

    June 2022: Demarcus GREELY is arrested with a switch-equipped Ghost Gun

      90.    On June 12, 2022, police stopped a car in the 400 block of Donald Atkins

Drive in Benton Harbor, MI for having a broken brake light and no license plate. Upon

approaching the car, police noticed it had a temporary registration plate improperly

displayed in the upper corner of the rear window. Four people were in the car. The driver

provided a Michigan ID card rather than a driver’s license. Police smelled intoxicants and

confirmed that everyone in the car was under the age of twenty-one.

      91.    An officer recognized the front-seat passenger as Demarcus GREELY based

on having encountered him during a prior traffic stop on April 10, 2022. During that stop,

another passenger had been arrested for illegally possessing a firearm with an obliterated

serial number as a convicted felon. Furthermore, based on his training and experience,

the officer believed GREELY to be an associate of My Brother’s Keeper, a Benton Harbor

gang that had been involved in numerous shootings since 2019.

      92.    Police asked the driver to search the car for open containers of alcohol, and

the driver consented. An officer asked GREELY to get out of the car. As he got out,

GREELY adjusted something in his waistband, and the officer saw a bulge in GREELY’s

clothes. Based on his training and experience, the officer believed the bulge was a firearm

and lifted GREELY’s shirt, revealing a pistol grip sticking out above his waistband.

      93.    Another officer walked over to help place GREELY in custody and retrieve

the pistol from GREELY’s waistband. The pistol was a Polymer P80 “ghost gun,”


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unregistered and with no serial number, which had a clover pattern and gold grip (the

“Clover Gun”). Based on my training and experience, I understand that Polymer P80

“ghost guns” are manufactured by Polymer80, are sold whole or in kits, and that the gun

and its component parts are not stamped with serial numbers.

       94.    The pistol had an automatic switch affixed to the back of the slide where

the armorer’s plate would normally go. Below are photographs of the Clover Gun, with

the switch parts circled in red:




       95.    Based on this incident, GREELY was charged with possession of a

machinegun, in violation of 18 U.S.C. § 922(o), in the United States District Court for the

Western District of Michigan (1:22-cr-137-JTN).

         GREELY arranges to buy the Clover Gun from TOREZ via Facebook

       96.    GREELY’s Facebook account contains exchanges with TOREZ in which

GREELY arranges to buy from the Clover Gun from him. On March 18, 2022, the

following communications occurred:

       TOREZ:               Yooo

       GREELY:              Yoo


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      TOREZ:              You got $750?

      GREELY:             What Is It?

      97.   TOREZ then shared a video chat, followed by these further messages:

      GREELY:             Give Me A Minute On Beezy I’m Finna Get It

      TOREZ:              Bet hmu

      98.   GREELY’s Facebook account also shows that on March 19, 2022, he

participated in these communications with Facebook username “LongLive DaGuyz”:

      GREELY:             Tell His Ass Scoop Me When You Get Wit Em So I Can Go
                          Buy Dis Pipe

      LongLive DaGuyz: Bet imma lyk when he scoop me who u finna grab some
                       from

      GREELY:             Bet & Kabbage

      LongLive DaGuyz: 4 leaf clovers

      LongLive DaGuyz: With the 30 nd drum?

      GREELY:             Yop

      LongLive DaGuyz: I want u to get it I’m gettin g lock out da store wat he
                       chargin u tho

      GREELY:             750

      99.   Based on my training and experience, I understand that “pipe” is slang for

firearm. I note that GREELY stated he will obtain a “pipe” from “Kabbage,” which, as

noted earlier, is a known nickname for TOREZ, and also appears in TOREZ’s Facebook

username: “fastwayy.kabbage.5.” GREELY stated he would be charged “750,” which is

the amount of money TOREZ said he would charge GREELY on March 18. GREELY



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confirmed (“Yop”) that he was buying a gun with “4 leaf clovers,” which describes the

Clover Gun, which GREELY was arrested with on June 12, 2022, shown again below:




         100.   Based on my training, experience, knowledge of this investigation, and the

messages quoted above, TOREZ sold GREELY the clover gun.

July 27, 2022: police conduct a traffic stop on a vehicle with multiple convicted felons
    (Jayvon ANTHONY and Timothy THOMAS), multiple firearms, and switches

         101.   On July 27, 2022, police were driving behind a car in Benton Harbor when

the person sitting in its rear passenger-side seat tossed a black handgun out the window.

Police found the discarded firearm: a Glock, model 23, .40 caliber handgun bearing serial

#XCR256.14 The pistol was reported stolen in 2018, and was fitted with a firearm switch

(black in color).




14I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before it was found in Benton Harbor in
July 2022.


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         102.   Police stopped the car and arrested Jayvon ANTHONY, who was sitting in

the rear passenger-side seat. Police then searched the car and found two magazines

containing a total of 45 rounds of 9-millimeter ammunition. Through questioning and a

review of identification cards, police identified the driver as Demitrius SEUELL, the front

passenger as Timothy THOMAS, and remaining passenger as JB.15 Police detained

ANTHONY and JB, and released SEUELL and THOMAS.

         103.   At the time of the traffic stop, ANTHONY and THOMAS had each been

convicted of felony offenses. ANTHONY was convicted in March 2021, in a State of

Michigan court, with the crime of attempted assault with a dangerous weapon. THOMAS

was convicted in 2014, in a State of Michigan court, with the crime of Home Invasion –

2nd Degree.

         104.   Police suspected that the car’s occupants may have discarded additional

firearms before the traffic stop, so they searched the car’s path of travel and found three

additional firearms. On the north side of the road, consistent with being thrown from the

driver’s side of the car, they found two Glock pistols: a model 23, .40 caliber pistol bearing

serial #DVH090US, and a model 45, 9-millimeter pistol bearing serial #BXCN099.16 The

model 23 was reported stolen in 2007, and was affixed with a switch (red in color).




 JB, who was 17 years old at the time of this traffic stop, was later charged by the Berrien
15

County Prosecutor’s Office with shooting and killing Marlon Bowman on May 30, 2022.
16I am informed that these firearms were manufactured outside the State of Michigan
and, therefore, traveled through interstate commerce before it was found in Benton
Harbor in July 2022.


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         105.    Police found an additional firearm, a Smith and Wesson .22 caliber pistol

bearing serial #HJK0622, on the south side of the roadway, consistent with being thrown

from the car’s passenger side.17 The Smith and Wesson pistol was reported stolen in 2022.

         106.    Shortly after finding the three firearms, police saw THOMAS walking near

the area of the traffic stop. He was wearing a black backpack that he was not wearing

when police released him from the scene.

         107.    Police arrested THOMAS and found 32 rounds of .22 caliber ammunition

in his front pants pocket.

         108.    Police read THOMAS his Miranda warnings, and he agreed to talk. He said

the rear passengers (JB and ANTHONY) had stolen firearms in the recent past, and that

the stolen firearms were in the car because JB’s cousin had recently been shot. When

asked if the firearms were for intended retaliation, THOMAS nodded his head up and

down. THOMAS then began damaging his cell phone by hitting it against the police

vehicle.

                SEUELL and ANTHONY Facebook content regarding switches

         109.    On July 13, 2022, according to SEUELL’s “BigOpp Gloxky” Facebook

account,18 SEUELL sent a photograph of himself and JB, each holding a firearm, to the




17I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before it was found in Benton Harbor in
July 2022.
18This Continuation cites two Facebook accounts of SEUELL’s. Accordingly, for clarity,
descriptions of information from SEUELL’s Facebook account specify which account it
came from.


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Facebook username “Head Cracker.” In the photograph, SEUELL is holding what

appears to be the Glock model 23 with a red switch that was recovered during the traffic

stop on July 27, 2022. JB appears to be holding the Glock model 45 that was recovered

during the stop:




              SEUELL holding apparent Glock 23 and JB holding apparent Glock 4519




19   This image has been redacted to obscure JB’s face.


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      SEUELL’s driver’s license photo            Recovered Glock 23 with red switch

      110.   Also according to SEUELL’s “BigOpp Gloxky” Facebook account, SEUELL

communicated with TOREZ about firearms and switches around the time of the July 27,

2022 traffic stop. Specifically, on the evening of July 23, 2022, SEUELL and TOREZ had

this exchange:

      SEUELL:      You still at the crib?

      TOREZ:       Yea

      SEUELL:      Bet

      TOREZ:       Bitch

      SEUELL:      Coming up May

      SEUELL:      Outside

      111.   Their conversation continued in the early morning hours of July 24:

      TOREZ:       Wyo **

      SEUELL:      Shitt tryna find the rest of my weed you gave me

      SEUELL:      Outside yo shitt rn making sure them straps still there

      TOREZ:       They still out der?



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      SEUELL:       Hy you want emm or want me to take emm?

      TOREZ (voice message): You can take them

      112.   Based on my training, experience, and knowledge of the investigation, I

understand that in the initial part of the conversation, SEUELL asked TOREZ if he was

at COLUMBUS PREMISES (“You still at the crib?”) and TOREZ affirmed (“Yea”). Later,

SEUELL said he was looking around outside COLUMBUS PREMISES (“Outside yo shitt

[your house] rn [right now]”) to confirm firearms were still hidden there (“making sure

them straps still there”). TOREZ asked if they were still there (“They still out der?”) and

SEUELL affirmed (“Hy” [hell yes]).

      113.   In the evening of July 24, SEUELL and TOREZ continued:

      TOREZ:        Bring dem sitchos too so I can swap ‘em

      SEUELL:       She said she didn’t know you still wanted it you can get him
                    tomorrow she gotta wash him & Trim his hair she said

      TOREZ:        Bet nd u seen that^^?

      SEUELL:       Bet

      114.   Based on my training, experience, and knowledge of the investigation, I

understand that TOREZ asked SEUELL to deliver him switches (“sitchos”). In response,

SEUELL commented on a separate topic, after which TOREZ redirected him to his

pending request for switches (“u seen that^^”). SEUELL then confirmed that he saw the

request and would comply (“Bet”).

      115.   The conversation continued:

      SEUELL:              finna drop them off you at the crib?



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      TOREZ (voice message): Aye man come, um, come to Sakari house and bring
                       that. I, I, I brung that over here.

      SEUELL:               Bet

      116.   Based on my training, experience, and knowledge of the investigation, I

understand that SEUELL said he was preparing to drop the switches off and wanted to

confirm TOREZ was at COLUMBUS PREMISES (“finna drop them off you at the crib?”).

In his voice message response, TOREZ told SEUELL to bring the switches to the house of

another person, Sakari (“come to Sakari house and bring that”).

      117.   An hour later, the conversation continued with TOREZ directing SEUELL

back to COLUMBUS PREMISES:

      TOREZ:        Bitch

      TOREZ:        You playin

      TOREZ:        Come to my Shi I just left

      SEUELL:       Bet

      SEUELL:       Outside

      118.   Based on my training, experience, and knowledge of the investigation, I

understand that TOREZ complained to SEUELL because he had not yet brought the

switches to Sakari’s house as requested. TOREZ told him to bring the switches instead to

COLUMBUS PREMISES because he had left Sakari’s house (“Come to my Shi [house] I

just left”). SEUELL confirmed and told TOREZ he was at COLUMBUS PREMISES with

the switches (“Bet,” “Outside”).

      119.   According to ANTHONY’s Facebook:



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                a.     on January 29, 2022, in a group Facebook conversation, ANTHONY

         circulated a video of himself holding a Glock handgun with an affixed switch

         (black in color). A screenshot is included below. Approximately three minutes

         later, ANTHONY sent a message to the group: “Y’all like my video.”

                b.     On May 20, 2022, ANTHONY was a member of a group Facebook

         conversation in which another participant, Facebook username “Levi Kidd,” sent

         an image of ANTHONY sitting in a stairwell above two pistols, one of which

         appears to be the same Glock model 23 handgun with an affixed red switch that

         police seized during the traffic stop on July 27, 2022.20

         120.   Below is a video screenshot and the image referenced in the preceding

paragraph:




20In both the image and video described, ANTHONY’s face is visible. Having reviewed
multiple images of ANTHONY, including the recent booking photograph, I confirmed
he was the person depicted in both the video and image.



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   Screenshot of ANTHONY with Glock              Image of ANTHONY with Glock model
  handgun with an affixed switch (black)         23 handgun with an affixed switch (red)


      121.      According to ANTHONY’s Facebook, on March 16, 2022, he had a

conversation with Facebook username “Aaliyah Baae.” Below is a portion of that

conversation:

      Aaliyah Baae:         Ho you ain’t call back

      ANTHONY:              I was still otp we tryna put this switch on the Glock

      Aaliyah Baae:         Oh

      122.      Based on my training, experience, and knowledge of the investigation, I

understand from these messages that Aaliyah Baae wanted to know why ANTHONY

had not called her (“you ain’t call back”). ANTHONY responded that he was still on the




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phone (“otp”) and said that he and another person were installing a switch on a Glock

handgun (“we tryna put this switch on the Glock”).

      123.   While reviewing TOREZ’s Facebook account, investigators identified a

group conversation regarding a shooting incident involving SEUELL and ANTHONY.

Below is a portion of that conversation from May 22, 2022:

      SEUELL:              mann Jayvo don’t be playing I can honestly
                           say if he got it he doing that🤣

      Philip Testa:        Man stfu

      TYworld Scubai:      Jayvo a bitch

      TYworld Scubai:      He gone shoot for gang tho I heard bout em 🤣that’s why he
                           always talm bout pass me the blick that lil bitch don’t be
                           playing

      SEUELL:              Mannnn hn because when I seen them out the window I’m
                           like we dead ash, Jayvo start clapping out of nowhere 😭💯

      TYworld Scubai:      Gawdddd he came thru like that I know U would of got busy
                           too tho If u had it

      SEUELL:              Hy I was grabbing the strap from jb but they was already
                           coming through out the window after they came through &
                           peeped us, but it was to late Jayvo & Aaliyah start blowing
                           then me & JB jumped behind the car & JB start blowing

      124.   Based on my training, experience, and knowledge of the investigation, I

understand this conversation to be about a gang-related shootout in which SEUELL,

ANTHONY, and JB participated. SEUELL said that if ANTHONY has a gun, he is not

afraid to shoot (“if he got it he doing that”). TYworld Scubai agrees that ANTHONY will

shoot on behalf of his gang (“He gone shoot for gang”) and recalls ANTHONY always

wanting to hold a firearm because he will use it (“he always talm [talking] bout pass me


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the blick [firearm] that lil bitch don’t be playing”). SEUELL finishes with a play-by-play

account of the shootout in which they were initially caught off-guard by rival gang

members, but then ANTHONY (“Jayvo”), Aaliyah, and JB all returned fire (“start

blowing”).

         July 2022: Police investigate Earl AUSTIN IV and Evorion ANDERSON

         125.   In July 2022, the Michigan State Police (“MSP”) Southwest Enforcement

Team (“SWET”) initiated a drug-trafficking investigation into Earl AUSTIN IV.

         126.   In 2021, AUSTIN was convicted in a State of Michigan court with the crimes

of delivery of a controlled substance and carrying a concealed weapon, both of which are

felony offenses

         127.   SWET conducted a series of controlled purchases of various controlled

substances from AUSTIN, including methamphetamine, Oxycodone, and fentanyl. Each

time, undercover investigators contacted AUSTIN at telephone number (269) 369-1738

(“1738”) to arrange the deal.21

         128.   During the first controlled purchase on July 20, 2022, a SWET undercover

officer (“UC”) contacted AUSTIN at 1738 and negotiated a deal for methamphetamine.

AUSTIN directed the UC to meet at a location in the 1000 block of Highland Avenue in

Benton Harbor (the “Highland Block”). When the UC arrived, Evorion ANDERSON




 In a subpoena response, T-Mobile identified the subscriber for 1738 as “Earl Austie.”
21

AUSTIN also told his probation officer that 1738 is his phone number.



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delivered the UC approximately 14.8 grams of a substance in exchange for $200.22 The

substance was tested by the Berrien County forensic lab and came back positive for the

presence of methamphetamine.

         129.   During a controlled purchase on August 2, 2022, a SWET UC contacted

AUSTIN at 1738 and negotiated a deal for crystal methamphetamine. The UC met with

ANDERSON in the Highland Block, and ANDERSON provided approximately 17.5

grams of a substance in exchange for $200. The substance was tested by the Berrien

County forensic lab and came back positive for the presence of methamphetamine and

sucrose.

                          August 2022: AUSTIN sells a switch

         130.   During a controlled purchase on August 11, 2022, AUSTIN told a SWET UC

that he could sell the UC a switch, and showed the UC a video on his cell phone depicting

switches on a table.

         131.   On August 17, 2022, the UC met with AUSTIN in the Highland Block, and

AUSTIN gave the UC a switch in exchange for $500. AUSTIN explained how to affix the

switch to a Glock handgun. The switch, which was made of three pieces and is pictured

below, appeared to be made from a polymer material of the type used in 3D-printers:




22After the controlled purchase, the UC identified the delivery person as ANDERSON
upon reviewing his photograph on file with the Michigan Secretary of State.



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       132.    Investigators attempted to affix the switch to a Glock Model 19 pistol, but

in the process broke the part of the switch that fits into the rear slide of the firearm. The

UC later told AUSTIN that he broke the piece while trying to attach it. AUSTIN agreed

to replace it the next time they met.

              Switch replacement piece and 4-ounce methamphetamine deal

       133.    On August 31, 2022, the UC met AUSTIN to obtain the replacement piece

for his switch and buy approximately four ounces of methamphetamine. The UC picked

up AUSTIN and drove to the Highland Block. AUSTIN told the UC he would be receiving

the four ounces of methamphetamine from someone inside the Blossom Acres housing

project (“Blossom Acres”). But before he left to get the methamphetamine, AUSTIN

determined that he did not have the correct replacement piece for the broken switch and




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called (269) 861-3311 (“3311”).23 During the call, the UC overheard AUSTIN speaking

with the other party and discussing where to meet. AUSTIN told the UC that the person

he called would meet AUSTIN to provide the replacement switch piece.

         134.   Immediately after the call, AUSTIN called (269) 486-8370 (“8370”), in the

UC’s presence, and said on the phone that he had to take care of something but would

return in 20 minutes. The UC then drove AUSTIN to 2088 East Empire Avenue, Lot 135,

where the UC watched AUSTIN meet ANDERSON.24 After meeting with ANDERSON,

AUSTIN returned to the UC’s vehicle and gave him the replacement switch part.

         135.   AUSTIN told the UC to return to Blossom Acres so AUSTIN could get the

methamphetamine. The UC dropped AUSTIN off. As AUSTIN walked away, the UC saw

him talking on his phone, which the pen register indicated was a short call to 8370. The

UC lost sight of AUSTIN as he walked southeast near the intersection of Blossom Lane

and Concord Avenue. A short time later, AUSTIN returned on foot to the UC’s vehicle




23Investigators knew that AUSTIN called 3311 because they had a court-authorized pen
register on his phone number, 1738. (That is also how investigators know the other
numbers AUSTIN called as described in this Continuation.) Relatedly, shortly before
August 31, the Berrien County Probation Office received an anonymous tip that 3311 was
being used by ANDERSON.
24The UC observed and recorded ANDERSON during his exchange with AUSTIN. The
UC then researched the Law Enforcement Information Network (“LEIN”) for individuals
associated with 2088 East Empire, Lot 135, and noticed ANDERSON was currently on
probation and listed that address as his residence. Upon reviewing ANDERSON’s
photograph from the Michigan Secretary of State, the UC confirmed it was ANDERSON
who met with AUSTIN.



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and gave him four ounces of a substance in exchange for $1,260. The substance was field

tested and returned a positive result for the presence of methamphetamine.

             Facebook communication between ANDERSON and TOREZ

      136.    While reviewing TOREZ’s Facebook account, investigators identified a

conversation with ANDERSON regarding switches. Below is a portion of a Facebook

conversation on January 13, 2022:

      TOREZ:               OnTy my cousin got light switches Fa 500

      TOREZ:               It’s time

      ANDERSON:            Wtw n bro show building me a wall ima have to get a light
                           switch

      137.    Based on my training, experience, and knowledge of the investigation, I

understand from these messages that TOREZ told ANDERSON he could provide a

switch (“light switch”) for $500 (“500”). ANDERSON went along with TOREZ’s coded

language by telling TOREZ that someone would be providing him a firearm (“bro show

building me a wall”) onto which he would like to affix a switch (“ima have to get a light

switch”).

             Facebook Communication between ANDERSON and AUSTIN

      138.    While reviewing ANDERSON’s Facebook account, investigators identified

a lengthy conversation between ANDERSON and AUSTIN in which they discussed

firearms, switches, and TOREZ. Below is a portion of a conversation on April 13, 2022:

      ANDERSON:            Ight how much for the g2 since I can’t trade

      ANDERSON:            I got 400



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      AUSTIN:             Lol u sound like kabbage Rn 😂😂

      139.   Based on my training, experience, and knowledge of the investigation, I

understand from these messages that ANDERSON asked AUSTIN how much he would

charge ANDERSON for a Taurus G2 handgun (“how much for the g2”). ANDERSON

offered $400 (“400”). AUSTIN laughed that, by making such a low offer, ANDERSON

sounded like TOREZ (“Lol u sound like kabbage”).

                   Police identify Joe GRIFFIN as the user of 8370

      140.   After police identified 8370 as a likely source of methamphetamine that

AUSTIN provided the UC, investigators issued a subpoena to Verizon Wireless for

subscriber information. The response from Verizon indicated that 8370 was a prepaid

Tracfone with no listed subscriber. Investigators also researched the MDOC inmate

calling system and identified a phone call between an inmate and 8370 on August 26,

2022. During the call, the male user of 8370 provided his CashApp account name,

“Jaffie87.” Investigators researched CashApp for that username and located an account

registered to Joe GRIFFIN. Below is an image depicting the “Jaffie87” CashApp account:




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         141.   A confidential informant (“CI-2”) provided the following information: (a)

GRIFFIN traffics methamphetamine and crack cocaine from either the second25 or third

house south of Blossom Lane on the west side of Concord Avenue in Benton Harbor, MI;

(b) GRIFFIN uses a gray Volkswagen Minivan, frequently parked at his drug house, to

distribute drugs; (c) GRIFFIN works with Earl AUSTIN, Evorion ANDERSON, and JT’s

father to distribute drugs; and (d) GRIFFIN keeps a firearm at his drug house to protect

himself and his drug supply.26

         142.   Investigators have corroborated parts of CI-2’s statements. On multiple

occasions, investigators have purchased methamphetamine from AUSTIN in a manner

that involved 150 Concord Avenue (the “CONCORD PREMISES”), as detailed below.

Investigators have consistently observed a gray 2010 Volkswagen Routan bearing

Michigan license plate EJV1649 parked in front of the CONCORD PREMISES, and have

seen GRIFFIN drive the Routan. Phone calls between GRIFFIN and AUSTIN during


25 150 Concord Avenue, identified further below as GRIFFIN’s drug distribution center,
is the second house.



26 I have not worked directly with CI-2, but I conferred with investigators who have. I
learned that CI-2 has been working with law enforcement for approximately three years,
during which time CI-2’s information has been corroborated in significant respects in
connection with multiple investigations. From all I learned, since CI-2 has been working
as an informant, CI-2 has never lied to law enforcement or provided information that was
later discredited. Information from CI-2 has led to numerous successful search warrant
executions resulting in the seizure of drugs, weapons, and other illegal items. CI-2 has
also provided information on multiple shootings, which aided in the successful
prosecution of people involved. CI-2 has worked for financial compensation and has
prior convictions for home invasion (2013) and resisting police (2019). CI-2 was also paid
for the information provided regarding GRIFFIN.



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controlled methamphetamine purchases and surveillance activity, detailed below,

further confirm the drug distribution relationship between AUSTIN and GRIFFIN.

 AUSTIN sells two switches and one ounce of methamphetamine to the UC from the
     HIGHLAND PREMISES and the CONCORD PREMISES, respectively

         143.   On September 28, 2022, the UC called AUSTIN and requested to meet. The

UC saw AUSTIN leave 1082 Highland Avenue (the “HIGHLAND PREMISES”) and walk

to meet him.27 The UC told AUSTIN he would like two switches. AUSTIN told the UC he

would have to check with his associate, after which AUSTIN walked back to the

HIGHLAND PREMISES. A short time later, AUSTIN left the HIGHLAND PREMISES

and walked back to the UC’s vehicle. AUSTIN sold the UC two switches in exchange for

$400 and a promise for further payment in the future.

         144.   The UC then asked AUSTIN for an ounce of methamphetamine. AUSTIN

said he would have to go get it, and walked into the CONCORD PREMISES.28 While



27CI-2 provided the following information about the HIGHLAND PREMISES: JT lives at
the HIGHLAND PREMISES with his mother. JT’s father frequents the HIGHLAND
PREMISES and sometimes conducts drug transactions there. JT frequently stores firearms
at the HIGHLAND PREMISES and also carries firearms away from the HIGHLAND
PREMISES. Other people have also recently stored firearms at the HIGHLAND
PREMISES. CI-2 did not identify the HIGHLAND PREMISES by its numerical address,
but rather described the general location, occupants, and activity therein.
28Investigators believe the CONCORD PREMISES is GRIFFIN’s drug distribution center
based on information from CI-2 (described above) and an anonymous source (described
below), as well as a pattern of dealing described herein during controlled transactions, in
which AUSTIN would call GRIFFIN and then visit the CONCORD PREMISES before
selling drugs. Additionally, two separate search warrants (1:22-mj-444 and 1:22-mj-478)
were issued in the Western District of Michigan by U.S. Magistrate Judges Phillip J. Green
and Sally J. Berens, respectively. The warrants sought historical and prospective phone
location information for “8370” and “1428”—the two phones AUSTIN called in



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AUSTIN was inside, an unknown male approached the UC’s vehicle and requested

empty soda cans. The UC gave the male some spare change and the male began walking

away. However, a different young male, later identified as JT, walked toward the

unknown male from the vicinity of the HIGHLAND PREMISES and confronted him.29 JT

produced a semi-automatic handgun with an extended magazine, pointed it at the

unknown male’s head, and struck the unknown male in the head with the firearm. The

unknown male walked away.

         145.   After this, JT walked back to the entryway of the HIGHLAND PREMISES

and lingered there. A short time later, AUSTIN left the CONCORD PREMISES, walked

back to the UC’s vehicle, and sold the UC a substance for $320. AUSTIN then walked

away from the UC’s vehicle back to the HIGHLAND PREMISES where he stopped to

speak with JT The substance was tested by the Berrien County forensic lab and came back

positive for the presence of methamphetamine.




connection with obtaining drugs for the UC that were later tied to GRIFFIN, as described
herein. The location information showed that GRIFFIN was frequently at or near
CONCORD PREMISES, including during the controlled purchase on September 28
between 4:03 and 4:14 p.m., during which time AUSTIN picked up one ounce of
methamphetamine from the CONCORD PREMISES.
29The UC reviewed the Law Enforcement Investigation Network (“LEIN”) and identified
JT as a person associated with 1082 HIGHLAND PREMISES. The UC then reviewed JT’s
Michigan Secretary of State photograph and confirmed it was the same person he
observed brandish the weapon and return to HIGHLAND PREMISES. JT was also on
GPS tether with Berrien County due to a pending charge for carrying a concealed
weapon. The address he provided the Berrien County tether unit was HIGHLAND
PREMISES and his GPS tether location information placed him in the area of HIGHLAND
PREMISES during the altercation.



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                Information from an anonymous source regarding GRIFFIN

         146.   On October 12, 2022, an anonymous source (“AS-1”) contacted SWET

investigators and provided this information: (a) GRIFFIN lives with his girlfriend, RA, at

the CONCORD PREMISES, where GRIFFIN stores and distributes large quantities of

various drugs including methamphetamine, crack cocaine, and heroin. (b) GRIFFIN

coordinates drug sales not only at the CONCORD PREMISES, but also on the Highland

Block near the intersection of Highland Avenue and Burton Street. (c) GRIFFIN also

stores firearms, including long guns, at the CONCORD PREMISES. (d) GRIFFIN uses

8370 to communicate with his drug associates, including DR, also known as “Spawn,”

who lives with his girlfriend at a separate residence on Blossom Lane. (e) GRIFFIN uses

a green Volkswagen minivan to store and distribute drugs, which is typically parked in

front of the CONCORD PREMISES.

          AUSTIN, GRIFFIN, and RA deliver four ounces of methamphetamine

         147.   The UC and AUSTIN negotiated a deal for an AK-47 style pistol. On

November 10, 2022, the UC called AUSTIN and requested to meet. AUSTIN instructed

the UC to meet with him in the area of 1210 Union Avenue in Benton Harbor, where he

provided the UC a Zastava PAP M85 5.56 caliber pistol, serial #05884, for $1,600.30

         148.   The UC then requested four ounces of methamphetamine. AUSTIN

instructed the UC to drive around for a short time and said he would get the




30I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before being sold in Benton Harbor in
November 2022.


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methamphetamine. Shortly after the UC departed, AUSTIN had multiple calls with (269)

235-1428 (“1428”). Shortly after placing a call to 1428, investigators conducting physical

surveillance observed RA leave the CONCORD PREMISES as a passenger in a gray

Chrysler. The Chrysler arrived at 1210 Union Avenue a short time later, and AUSTIN

briefly conferred with RA through the passenger window. Shortly after that exchange,

AUSTIN communicated to the UC that he could come purchase the methamphetamine,

which the UC did. RA was driven directly back to the CONCORD PREMISES. Between

the time the UC communicated his desire to purchase methamphetamine and the time

the UC received the methamphetamine, AUSTIN communicated by phone with only two

phone numbers: the UC’s and 1428.31




31 Investigators monitoring GRIFFIN’s call records on 8370 noticed that he stopped
placing or answering calls using that number on October 30, 2022. Because of this,
investigators monitored AUSTIN’s call records during the controlled purchase on
November 10, 2022, with an eye toward identifying GRIFFIN’s new number. Based on
the sequence of events during that controlled purchase, investigators suspected 1428 was
GRIFFIN’s new number and issued a subpoena for activation and subscriber information.
The response confirmed their suspicion: 1428, a prepaid TracFone just like 8370, was
activated on October 26, just four days before GRIFFIN discontinued use of 8370. Finally,
investigators conducting physical and video surveillance have observed GRIFFIN’s
location correspond to the real-time location information associated with 1428, which
investigators obtained by federal warrant as described above.




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                       DR distributes methamphetamine to SWET

         149.   As stated above, AS-1 told investigators that one of GRIFFIN’s drug

trafficking associates was DR. In November 2022, SWET investigators began working

with a confidential informant (“CI-3”) who offered to assist them in conducting

controlled purchases from DR, known to CI-3 as “Spawn.”32

         150.   On November 17, 2022, CI-3 called DR at (269) 369-1511 (“1511”) in the

presence of SWET investigators and requested to purchase methamphetamine.33 DR

instructed CI-3 to meet him at R and H Brothers store at the corner of Burton Street and

Highland Avenue in Benton Harbor. A SWET UC drove CI-3 to that location, and CI-3

informed DR they were there. A short time later, DR drove GRIFFIN’s Volkswagen

Routan into the parking lot, got out, and walked to the passenger-side window of the

UC’s vehicle to meet with CI-3. DR gave CI-3 a bag of a substance in exchange for $100.34



32I have not worked directly with CI-3, but I conferred with investigators who have. I
learned that CI-3 has been working with law enforcement for approximately one month,
during which time CI-3’s information has been corroborated through physical
surveillance, investigative research, and controlled purchases. Since CI-3 has been
working as an informant, CI-3 has never been discovered to have lied to law enforcement,
or provided information that was later discredited. The information and assistance that
CI-3 has provided has led to four successful controlled purchases from DR. CI-3 has
worked for consideration on pending charges and financial compensation, and has prior
convictions for theft (2010), forgery (2010), damage to property (2015), resisting police
(2017), controlled substance use (2020), and disturbing the peace (2021).
33Investigators issued a subpoena for subscriber information for 1511. The response
identified 1511’s subscriber as DR. In addition, 1511 is one of the numbers that GRIFFIN
has called the most frequently using 8370 and 1428.
34During the exchange, the UC observed DR’s face and confirmed it was him based on a
prior review of DR’s photograph on file with the Michigan Secretary of State.



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DR then departed and drove the Routan to the CONCORD PREMISES. The substance

was field tested and returned a positive result for the presence of methamphetamine.

         151.   On November 29, 2022, the UC and CI-3 conducted another controlled

purchase of methamphetamine from DR. CI-3 called DR at 1511 and requested

methamphetamine. DR instructed CI-3 to go to R and H Brothers, which CI-3 and the UC

did. CI-3 notified DR they were at the location, and shortly thereafter DR arrived in

GRIFFIN’s Volkswagen Routan. CI-3 met with DR in the driver’s seat and exchanged

$100 for a bag of a substance (which, according to a field test, yielded a positive result for

methamphetamine), which CI-3 brought back to the UC’s vehicle. DR then drove directly

to the CONCORD PREMISES.

                 AUSTIN sells the UC a stolen Springfield Hellcat pistol

         152.   The UC communicated with AUSTIN at 1738 to arrange to purchase a

Springfield Hellcat 9-millimeter pistol. On December 2, 2022, location information for

1738 indicated that AUSTIN was in the area of the HIGHLAND PREMISES.35 Based on

that, investigators established physical surveillance in that area. AUSTIN instructed the

UC to meet him at 1210 Union Avenue in Benton Harbor, which is the same location

where AUSTIN previously provided the UC the Zastava PAP M85 5.56 caliber pistol.

         153.   Shortly after those instructions, investigators saw a white Acura MDX

arrive at the HIGHLAND PREMISES. Agents saw AUSTIN walk away from the front



35Two separate search warrants (1:22-mj-456 and 1:22-mj-494) were issued in the Western
District of Michigan by U.S. Magistrate Judges Sally J. Berens and Phillip J. Green,
respectively. The warrants sought historical and prospective phone location information
for 1738.


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door of the HIGHLAND PREMISES, get in the front passenger seat, and travel

westbound on Highland Avenue. The MDX made a four-minute stop at the Phillips 66

gas station located at 1117 Pipestone Road, where AUSTIN put gas in the vehicle. The

MDX departed the gas station and traveled directly to 1210 Union Avenue, where

AUSTIN got out of the front passenger seat and got into the UC’s vehicle.

         154.   AUSTIN removed a brown paper bag from his front sweatshirt pocket and

provided it to the UC in exchange for $1,000. In the bag was a Springfield Hellcat 9-

millimeter pistol, bearing serial #BY398467, which was reported stolen to the Benton

Township Police Department in October 2021.36 Based on my training, experience, and

knowledge of the investigation, I believe AUSTIN had the pistol at the HIGHLAND

PREMISES before receiving a ride to sell the pistol to the UC.

                      GRIFFIN associates with TAYLOR PREMISES

         155.   In late November 2022, investigators monitoring the real-time location of

GRIFFIN’s phone, 1428, noticed that the phone began frequenting the area of 2000 Taylor

Street (the “TAYLOR PREMISES”). In early December 2022, CI-2 provided the following

information: GRIFFIN had recently been frequenting the residence of KA, the mother of

some of GRIFFIN’s children. KA, who was recently released from prison, had recently

moved into the house at the corner of Taylor Street and Edson Avenue (this describes the

TAYLOR PREMISES). KA drove a Chrysler Pacifica, which was typically parked in the




36I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before being sold in Benton Harbor in
December 2022.


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driveway of her residence. GRIFFIN’s Volkswagen Routan was also sometimes parked

at this location. Before KA’s recent incarceration, GRIFFIN also frequented her past

residences and stored drugs there.

       156.   Investigators began conducting drive-by surveillance of the TAYLOR

PREMISES and saw a 2020 Chrysler Pacifica, registered to KA, consistently parked there.

Investigators also saw GRIFFIN’s Volkswagen Routan parked there. On December 6,

2022, investigators installed video surveillance to observe the activity in the exterior area

of TAYLOR PREMISES.

       157.   On December 6, at approximately 7:11 p.m., GRIFFIN, using 1428, received

an incoming call from (269) 285-9104 (“9104”). Approximately two minutes later, a dark

sedan pulled in front of the TAYLOR PREMISES and no one exited the vehicle.

Approximately two minutes after that, the Pacifica pulled into the driveway at the

TAYLOR PREMISES and GRIFFIN and a female, likely KA, exited and went inside

TAYLOR PREMISES. Shortly thereafter, GRIFFIN exited TAYLOR PREMISES and

walked to the driver window of the dark sedan, where he had a brief four-second

exchange and then left to walk back into TAYLOR PREMISES.

       158.   The law enforcement database Accurint associates 9104 with BG. CI-2

previously said that BG was a methamphetamine dealer/user in the Benton Heights area

(where the TAYLOR PREMISES is located). Based on my training, experience, knowledge

of the investigation, and the phone call from BG shortly before the exchange, I believe

that BG was in the dark sedan and went to the TAYLOR PREMISES for the purpose of




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acquiring drugs from GRIFFIN. I believe GRIFFIN provided BG the drugs during the

very short meeting with the dark sedan.


                    GRIFFIN delivers methamphetamine to AUSTIN

         159.   The UC and AUSTIN negotiated a deal for a Smith and Wesson pistol. On

December 8, 2022, the UC called AUSTIN and requested to meet. AUSTIN instructed the

UC to meet with him in the area of 1210 Union Avenue in Benton Harbor, where he

provided the UC a Smith and Wesson SD9 VE 9-millimeter pistol bearing serial #FZE6969

in exchange for $600.37 The SD9 was previously reported to the Lansing (Illinois) Police

Department as stolen in 2019.

         160.   The UC then requested four ounces of methamphetamine. AUSTIN

instructed the UC to drive around for a short time and said he would get the

methamphetamine. As the UC departed, AUSTIN’s calling records indicated he had

multiple calls with 1428. Shortly before the meeting between the UC and AUSTIN began,

investigators monitoring video surveillance of the TAYLOR PREMISES observed

GRIFFIN drive away from the TAYLOR PREMISES in the Routan, on which a GPS

tracking device had recently been placed pursuant to a State of Michigan search warrant.

The Routan traveled to the CONCORD PREMISES and was there when AUSTIN placed

the call to 1428. Shortly after receiving the call from AUSTIN, GRIFFIN traveled away




37I am informed that this firearm was manufactured outside the State of Michigan and,
therefore, traveled through interstate commerce before being sold in Benton Harbor in
December 2022.


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from the CONCORD PREMISES and drove to 229 S. Crystal Avenue. Aerial surveillance

observed GRIFFIN park near a storage barn on the property and then place something in

the rear hatch of the Routan. GRIFFIN then drove directly to 1210 Union Avenue where

he met with AUSTIN and conducted a hand-to-hand transaction at the front passenger

window without accessing the rear compartment area. Around this time, AUSTIN called

the UC and told the UC to come back for the methamphetamine. The UC drove back and

exchanged $1260 for the four ounces of methamphetamine.

      161.   On December 9, 2022, GRIFFIN conducted another hand-to-hand

transaction with BG. On that date, at approximately 3:47 p.m., GRIFFIN answered a short

call from 9104, believed to be used by BG. Around the same time, video surveillance

captured an older model silver Chevrolet Cobalt pull up in front of TAYLOR PREMISES.

Approximately two minutes later, GRIFFIN exited the front door of TAYLOR PREMISES,

had a three-second exchange with the driver at the driver’s window, and then went back

inside TAYLOR PREMISES. The Cobalt immediately departed after the exchange.

      162.   BG’s address on file with the Michigan Secretary of State is 2356 Stratton

Road in Benton Harbor. BG’s mother, shares that address with him and is the registered

owner of a silver Chevrolet Cobalt bearing Michigan license plate EPN3893. BG was an

absconder from Berrien County probation and, as such, had an active arrest warrant. On

December 11, 2022, Berrien County deputies located and arrested BG at his residence.

During post-Miranda questioning, BG admitted he was a heroin user, that there were used

heroin needles in his room, but denied consent for deputies to search his room. During

the arrest, BG’s mother told deputies that BG is a drug addict who uses drugs daily.


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      163.   Based on my training, experience, and knowledge of the investigation, I

believe that on December 9, 2022, BG called GRIFFIN and drove his mother’s Cobalt to

receive drugs from GRIFFIN. This was the second hand-to-hand drug transaction

between BG and GRIFFIN at the TAYLOR PREMISES in the span of four days. I believe

this shows that, in addition to the CONCORD PREMISES, GRIFFIN also uses the

TAYLOR PREMISES to store and distribute drugs.


                                 Facebook attribution

      164.   Investigators attributed the users to the Facebook accounts referenced

above in the following manner:

             a.    Evorion ANDERSON – Facebook user “FourUp Marlow,” account

      seized in 1:22-mj-412 (RK). Investigators identified ANDERSON as the user of

      this account through photographs associated with the account, which depicted

      ANDERSON. The profile image, which is typically reserved for the user of a

      Facebook account, is a picture of ANDERSON. CI-2 identified this account as used

      by ANDERSON. And, in messages sent from this account, the user on multiple

      occasions identified his phone number as (269) 861-3311, which investigators have

      concluded is ANDERSON’s phone number for the reasons explained above.

             b.    Jayvon ANTHONY – Facebook user “Beezyworld Jayvo,” account

      seized in 1:22-mj-429 (RK). Investigators identified ANTHONY as the user of this

      account through the content of the account’s communications, detailed above, and

      the photographs and videos associated with the account, many of which depict




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    ANTHONY. The username includes his nickname “Jayvo,” which is simply his

    first name, “Jayvon,” without the letter “n.” In addition, in messages this account

    received, multiple other Facebook users refer to the account user as Jayvon.

          c.     Earl AUSTIN IV – Facebook user “Benjamin Segal,” account

    seized in 1:22-mj-485 (SJB). Investigators identified AUSTIN as the user of this

    account through photographs and videos associated with the account. The profile

    image, which is typically reserved for the user of a Facebook account, is a picture

    of AUSTIN. In addition, CI-2 identified this as AUSTIN’s Facebook account.

          d.     Omarion BRANCH – Facebook name “Esons OBG.” Investigators

    identified BRANCH as the user of this account through photographs associated

    with the account. The profile image, which is typically reserved for the user of a

    Facebook account, is a picture of BRANCH. And, the overwhelming amount of

    publicly accessible images associated with the account are of BRANCH.

          e.     Demarcus GREELY – Facebook user “BankHead BigOpp,” account

    seized in 1:22-mj-293 (SJB). Investigators identified GREELY as the user of this

    account through photographs and messages associated with the account. The

    profile image, which is typically reserved for the user of a Facebook account, is a

    picture of GREELY standing with his deceased brother, who was also named

    Demarcus Greely. As described above, GREELY also described buying the Clover

    Gun from TOREZ, which was later seized from him. In addition, in Facebook

    messages sent from this account days after GREELY was arrested and the Clover




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    Gun was seized, this account’s user stated that he had just been caught with a

    switch.

          f.         LYONDRE Burnett – Facebook user “GioGang FatDre,” account

    seized in 1:22-mj-429 (RK). Investigators identified LYONDRE as the user of this

    account through photographs associated with the account. The profile image,

    which is typically reserved for the user of a Facebook account, is a picture of

    LYONDRE. The overwhelming amount of publicly accessible images associated

    with the account depict LYONDRE. In addition, the registered email address

    associated with the account is lyondreburnett123456@yahoo.com.

          g.         Demetrius SEUELL – Facebook user “TY Stepper Strap” and

    “BigOpp Gloxky,” accounts seized in 1:22-mj-429 (RK). Investigators identified

    SEUELL as the user of these accounts for the reasons explained below:

                i.        TY Stepper Strap. I compared many of the photos and videos

          from the account with SEUELL’s driver’s license photograph and

          confirmed they were the same person. The messaging content indicates the

          user is SEUELL. On August 11, 2022, Facebook user “Rambo Noochie”

          requested this account holder’s name and zip code. In response, the user

          provided zip code 49022 (Benton Harbor) and SEUELL’s full name,

          “Demitirus Seuell.”

               ii.        BigOpp Gloxky. The messaging content indicates the user is

          SEUELL. As described above, on July 13, 2022, this account distributed an

          image of SEUELL and BURTON holding firearms. In that image, SEUELL


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              was holding what appeared to be the Glock model 23 pistol with a red

              switch affixed that was seized during a traffic stop on July 27, 2022. In

              addition, SEUELL used this account to discuss with TOREZ his July 27

              traffic stop and subsequent arrest in a manner that made clear the user is

              SEUELL.

       165.   TOREZ Burnett – Facebook user “GramSlam Kabbo,” account seized in

1:22-mj-375 (SJB). Investigators identified TOREZ as the user of this account through the

photographs associated with the account. The profile image, which is typically reserved

for the user of a Facebook account, is a picture of TOREZ. The overwhelming amount of

publicly accessible images associated with the account depict TOREZ. In addition, in

messages this account received, multiple other Facebook users refer to the account user

as Torez.

       166.   Eric WILLIAMS – Facebook user “Franklin Hatchett,” account seized in

1:22-mj-429 (RK). Investigators identified WILLIAMS as the user of this account through

the photographs associated with the account. The profile image, which is typically

reserved for the user of a Facebook account, is a picture of WILLIAMS. The

overwhelming amount of publicly accessible images associated with the account depict

WILLIAMS. And, in Facebook messages, multiple users have referred to this account’s

user as “Eric.”


                                 Forensic examination




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      167.     Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have been

viewed via the internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

      168.     Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the electronic devices were used, the purpose of their use, who used

them, and when. There is probable cause to believe that this forensic electronic evidence

might be on the electronic devices because:

               a.    Data on the storage medium can provide evidence of a file that was

      once on the storage medium but has since been deleted or edited, or of a deleted

      portion of a file (such as a paragraph that has been deleted from a word processing

      file).

               b.    Forensic evidence on a device can also indicate who has used or

      controlled the device. This “user attribution” evidence is analogous to the search

      for “indicia of occupancy” while executing a search warrant at a residence.

               c.    A person with appropriate familiarity with how an electronic device

      works may, after examining this forensic evidence in its proper context, be able to

      draw conclusions about how electronic devices were used, the purpose of their

      use, who used them, and when.




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             d.     The process of identifying the exact electronically stored information

      on a storage medium that are necessary to draw an accurate conclusion is a

      dynamic process. Electronic evidence is not always data that can be merely

      reviewed by a review team and passed along to investigators. Whether data

      stored on a computer is evidence may depend on other information stored on the

      computer and the application of knowledge about how a computer behaves.

      Therefore, contextual information necessary to understand other evidence also

      falls within the scope of the warrant.

             e.     Further, in finding evidence of how a device was used, the purpose

      of its use, who used it, and when, sometimes it is necessary to establish that a

      particular thing is not present on a storage medium.

      169.   Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the electronic

devices consistent with the warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium,

that might expose many parts of the device to human inspection in order to determine

whether it is evidence described by the warrant.

                                      Conclusion

      170.   Base on the facts described above, there is probable cause to believe that

that Subject Premises contain evidence of the respective Target Offenses, as detailed in

the chart above.




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      171.   Moreover, there is probable cause to believe that the Target Subjects have

committed the offenses detailed above.




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